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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

 SYLVIA GONZALEZ,

       Plaintiff,
                                                     Civil Action No. 5:20-cv-1151
 v.

 CITY OF CASTLE HILLS, TEXAS;
                                                     Complaint and Jury Demand
 EDWARD “JR” TREVINO, II,
 Mayor of Castle Hills, sued in his
 individual capacity;

 JOHN SIEMENS, Chief of the
 Castle Hills Police Department,
 sued in his individual capacity; and

 ALEXANDER WRIGHT, sued in
 his individual capacity,

       Defendants.


                  COMPLAINT FOR RETROSPECTIVE RELIEF

      Plaintiff Sylvia Gonzalez hereby sues the City of Castle Hills, Texas (“Castle

Hills” or “City”); and Edward “JR” Trevino, II, John Siemens, and Alexander Wright

(collectively, “Individual Defendants”) for their deprivation of her rights under the

First and Fourteenth Amendments to the United States Constitution.

                                      Introduction

      1.       After being elected to the Castle Hills city council, Sylvia Gonzalez

participated in organizing a nonbinding citizens’ petition to urge the removal of Ryan

Rapelye from his position as the Castle Hills city manager.



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      2.       Getting wind of Sylvia’s efforts and assuming she was the driving force

behind the petition, Defendant Castle Hills and the Individual Defendants

(collectively, “Defendants”) adopted a plan to retaliate against Sylvia for her

protected speech, resulting in Sylvia’s arrest on manufactured misdemeanor charges

of tampering with a government record.

      3.       This lawsuit seeks redress for that unconstitutional arrest.

      4.       Defendants charged Sylvia under a statute that has never before or

since been used to arrest individuals similarly situated to Sylvia.

      5.       Sylvia’s arrest was unlawful because it was engineered and executed as

part of a high-level policy to retaliate against Sylvia’s exercise of political speech.

      6.       This was a long-term and pervasive policy and involved significant

deliberations—outside of split-second decision making—by high-level officials.

      7.       Defendants succeeded in their attempts to punish and intimidate Sylvia,

who, at the age of 72, made history as the City’s first Hispanic councilwoman.

      8.       Sylvia, with her reputation ruined and her pocketbook significantly

diminished, has been so traumatized by the experience that she will never again help

organize a petition or participate in any other public expression of her political

speech. She will also never again run for any political office.

      9.       There is nothing more fundamental to our system of government than

its founding principle that the First Amendment protects political speech. This

principle means little if local governments and their officials can—without

consequence—punish and intimidate those who engage in political speech. This suit




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is filed in defense of this principle and to ensure the constitutional accountability of

all government officials.

                              Jurisdiction and Venue

        10.   This is a civil rights case brought under 42 U.S.C. § 1983, and the First

and Fourteenth Amendments to the United States Constitution.

        11.   This Court has jurisdiction under 28 U.S.C. §§ 1331, 1343, 2201, and

2202.

        12.   Venue is proper in this Court under 28 U.S.C. § 1391.

                                     The Parties

        13.   Plaintiff Sylvia Gonzalez is a citizen of the United States and long-time

resident of Castle Hills, Texas.

        14.   Defendant City of Castle Hills, Texas, is a Type A general-law

municipality located in Bexar County, Texas. The City’s governing body consists of a

mayor and five aldermen, commonly referred to as councilmembers. The City has

adopted the city-manager form of government and delegated extensive authority to

its city manager.

        15.   Defendant Edward “JR” Trevino, II, is the mayor of Castle Hills.

        16.   Defendant John (“Johnny”) Siemens is the chief of the Castle Hills police

department and was appointed to that position by a city manager.

        17.   Defendant Alexander (“Alex”) Wright is a practicing attorney who,

although not a police officer by trade, acted as a special detective with the police

department. On June 18, 2019, he was assigned by defendant police chief Siemens to




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investigate a complaint against Sylvia made by defendant mayor Trevino. The City

has carried Wright’s law enforcement commission for many years, even though

Wright is not an active duty officer and is not employed by the City.

                                  Statement of Facts

Sylvia

      18.     Sylvia Gonzalez is 74 years old.

      19.     She comes from a law-enforcement family dedicated to public service.

      20.     Sylvia’s father was a police officer.

      21.     Sylvia’s daughter is a police officer.

      22.     Sylvia’s niece and cousins are police officers.

      23.     Other than the charge at issue in this case, Sylvia has no criminal

record.

      24.     After a fulfilling career in communications, Sylvia successfully ran for a

seat on the Castle Hills city council and spoke out against the politically powerful in

her small hometown by criticizing city manager Ryan Rapelye and participating in

an effort to organize a nonbinding citizens’ petition to remove him from office.

      25.     After Defendants learned about Sylvia’s criticisms of Rapelye and

assumed she was the driving force behind the petition advocating for his removal,

they developed a plan to punish and intimidate Sylvia in retaliation for her political

speech. The plan culminated in Sylvia’s arrest under a misdemeanor statute for

purportedly trying to steal the petition she herself championed. The statute has never

been used to arrest a person in an analogous situation.




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      26.    Defendants intended for Sylvia—a harmless and peaceful woman in her

seventies, who presented no threat to anyone and was no risk of flight— to spend the

day in jail. That’s why they obtained a warrant, instead of a summons, and also

bypassed the Bexar County district attorney’s office—the default practice for those

accused of nonviolent crimes, which would have afforded Sylvia an opportunity to be

processed through a satellite booking, rather than going to jail. As it happens, the

district attorney’s office, upon later review, dismissed the charges against Sylvia.

Castle Hills

      27.    Defendant Castle Hills is a city with fewer than 5,000 residents.

      28.    The City’s government is controlled by a small group of politically

powerful people (including the mayor, chief of police, and city manager).

      29.    The mayor of Castle Hills is an elected position. The mayor serves as the

presiding officer of the city council. The mayor casts a tie-breaking vote on the city

council and has the power to call special council meetings.

      30.    The chief of police of Castle Hills is appointed by the city manager and

reports to the city manager. The appointment is subject to approval by the city

council. The chief of police is in charge of the police department and oversees its

operations and budget. Among other duties, the chief of police oversees criminal

investigations.

      31.    The Castle Hills city council is the five-member executive body of the

City. The members are elected for two-year terms. They vote to set policy, adopt the




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City’s budget, approve purchases and contracts, and review laws. They also appoint

executive officials, such as the city manager and city attorney.

      32.    The city manager of Castle Hills is appointed for an indefinite period by

the city council and is in charge of most day-to-day decision-making. The city

manager’s powers include ensuring enforcement of all city laws; receiving and

accounting for all city moneys; managing city contracts; appointing and removing

department heads and subordinate city employees; preparing the city budget; and

acting as the editor of the city newsletter, The Reporter.

      33.    The city attorney for Castle Hills is appointed by the city council. The

city attorney serves as a legal adviser to the council, the city manager, and all other

officers, boards, and departments of the City. Among other duties, the city attorney

reviews articles published in the city newsletter, The Reporter.

Sylvia Runs for Office.

      34.    When Sylvia decided to run for office, she was prepared for a grueling

campaign to unseat her opponent, who was a well-connected incumbent supported by

the City and the Individual Defendants.

      35.    Sylvia campaigned house-to-house, knocking on countless doors and

personally meeting with more than 500 Castle Hills families.

      36.    Sylvia was not prepared, however, for the degree of negative feedback

she would receive about the City during her campaigning.

      37.    Castle Hills residents complained to Sylvia about corruption and other

problems with the City and the Individual Defendants.




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       38.    Although she did not know him personally, Sylvia was deeply disturbed

by stories about city manager Ryan Rapelye.

       39.    As one example, Sylvia heard that Rapelye had falsely accused his

secretary of stealing city documents, having her detained by Castle Hills police, and

forcing her to take a lie detector test before firing her.

       40.    While campaigning, Sylvia also heard allegations that the City and the

Individual Defendants were steering city policy and resources away from resident

services and toward enriching city employees.

       41.    Beyond the stories, many residents conveyed frustration with Castle

Hills government and with city manager Rapelye. One resident suggested Sylvia

organize a petition to express discontent with Rapelye’s performance.

Sylvia Wins the Election.

       42.    On May 4, 2019, Sylvia was elected as the first Hispanic councilwoman

in Castle Hills history.

       43.    On May 14, 2019, Sylvia was sworn in as a member of the council by

Bexar County sheriff Javier Salazar.

       44.    City attorney Schnall was present at Sylvia’s swearing-in ceremony.

       45.    Schnall did not object to any part of the swearing-in, and even applauded

at the completion of the ceremony.




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Sylvia Takes Office and Takes on the City and the Individual Defendants.

      46.    As her first act in office, Sylvia participated in organizing a citizen-

signed, nonbinding petition calling for the removal of city manager Rapelye from

office. See Exhibit A, the Petition.

      47.    The petition was a pure expression of political speech. It had no legal

force. It was designed to simply express the discontent of Sylvia’s constituents with

Rapelye’s performance as city manager and was signed by more than 300 Castle Hills

residents.

      48.    The petition had six concise bullet points and was titled “FIX OUR

STREETS Reinstate former City Manager Diane Pfeil.” Id.

      49.    The petition proposed that city council replace Rapelye with Diane Pfeil,

a previous city manager who had been removed from office after repeatedly clashing

with defendant Siemens (deputy police chief at the time) and defendant Trevino (then

a councilmember), including over the use of civil forfeiture funds. Id.

      50.    In addition, one of the bullet points in the petition criticized “various city

managers” who came after Diane Pfeil for “ma[king] up priority lists and pa[ying] for

expensive engineering studies.” “None,” the petition continued, “have fixed a single

street.” Id. Rapelye is one of the various city managers who came after Diane Pfeil.

      51.    Defendants mistakenly believed that Sylvia collected all of the 300-plus

signatures, even though she personally obtained just a fraction of this total number.




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      52.     Not everyone who heard from Sylvia signed her petition. Chalene

Martinez, a resident with connections to the City and the Individual Defendants,

declined to sign.

      53.     On May 21, 2019—Sylvia’s first council meeting—a resident submitted

the petition to the city council

      54.     To Sylvia’s surprise, the City and the Individual Defendants expected

its submission.

      55.     Citizens with connections to the City and the Individual Defendants,

including Mike Flinn, Bonnie Hopke, and Robbie Casey, attended the council meeting

and testified against the petition.

      56.     Chalene Martinez—a citizen who had refused to sign the petition when

asked by Sylvia—also testified in opposition to the petition.

      57.     According to Martinez, Sylvia asked her to sign the petition “under false

pretenses.”

      58.     Martinez did not elaborate further.

      59.     Due to its contentiousness, the meeting was ultimately carried over to

the next day, May 22, 2019.

      60.     The May 22 meeting remained tense, while the city council argued over

city manager Rapelye’s job performance.

      61.     Importantly, Sylvia and defendant mayor Trevino sat next to each other

at the council table during council meetings.




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      62.    When the meeting was finally over, Sylvia got ready to go, picking up all

of the hand-outs on her side of the dais and placing them in her binder.

      63.    Before she could leave, the city council secretary walked up to Sylvia

and told her that Amy McLin— the incumbent unseated by Sylvia—had an

immediate open records request for Sylvia and was waiting to give it to her.

      64.    Sylvia left her belongings—including her document binder—on the dais,

and went to talk to McLin, who asked Sylvia for all the notes Sylvia took during the

May 21 meeting related to the questions Sylvia asked of Rapelye.

      65.    Sylvia responded that she threw away the post-its but that if McLin

wanted to hear the questions, they were available on the Castle Hills’ YouTube

channel.

      66.    Sylvia’s fellow councilmember, Clyde “Skip” McCormick, who was

standing next to McLin, threatened to have Sylvia arrested and “sent to federal

prison” if she didn’t hand over a copy of her meeting notes.

      67.    During this entire conversation, Sylvia was standing with her back to

the dais.

      68.    At some point during the conversation, a police officer in charge of the

safety—Captain Steve E. Zuniga—tapped on Sylvia’s shoulder and told her that

defendant mayor Trevino wanted to talk to her. Exhibit B, Castle Hills Police

Department Offense/Incident Report, at 5.




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      69.    Sylvia turned around and, escorted by Zuniga (which she found rather

strange), went back to the dais, where defendant Trevino and she had been sitting

next to each other during the meeting.

      70.    With Captain Zuniga by his side, defendant Trevino asked Sylvia:

“Where’s the petition?”

      71.    Sylvia replied: “Don’t you have it? It was turned in to you yesterday.”

      72.    Responding in the negative, defendant Trevino then asked Sylvia to look

for the petition in her binder.

      73.    Sylvia did and, much to her surprise, found the petition there.

      74.    When Sylvia handed the petition to defendant Trevino, he stated: “You

probably picked it up by mistake.”

      75.    The two parted ways, with Sylvia not thinking much of the encounter.

      76.    Sylvia did not intentionally put the petition in her binder.

      77.    Sylvia never left the council room with the petition. Indeed, she never

even left the council table with the petition.

      78.    Sylvia had worked hard to help organize the petition and ensure its

submission to city council. The petition gave more force to Sylvia’s own judgment that

the city manager was not doing a good job. It would have been entirely illogical for

Sylvia to try to take back the petition.

Castle Hills and the Individual Defendants Retaliate Against Sylvia,
Ultimately Securing Her Arrest.

      79.    The City and the Individual Defendants learned about Sylvia’s petition

from supporters like Chalene Martinez, whom Sylvia approached for her signature.



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      80.    The City and the Individual Defendants, acting under color of Texas law

and cloaked in authority from Castle Hills, then developed a comprehensive plan to

punish and deter Sylvia based on her political expression. The plan was to give Sylvia

a taste of her own medicine by removing her from the city council.

      81.    Castle Hills councilmember McCormick wrote about the Defendants’

plan in the City’s newsletter, distributed to residents on July 17, 2019, but written

weeks ahead of time. To remove a council member, he said, residents could sue them

for official misconduct or incompetency. Alternatively, if a councilmember is convicted

of a felony or a misdemeanor involving official misconduct, it would operate as an

immediate removal from office. Exhibit C, The Castle Hills Reporter, at 5-6

(July/August 2019).

      82.    As the editor of the City’s newsletter, city manager Rapelye saw the

article well in advance of its publication.

      83.    As a reviewer of the City’s newsletter, city attorney Schnall also saw the

article well in advance of its publication.

      84.    In addition to the two options provided by councilmember McCormick,

the City and the Individual Defendants developed a third: retaliate against Sylvia’s

speech by directly removing her from office through a manufactured technical failure

in her swearing-in.

      85.    The City and the Individual Defendants were motivated to punish

Sylvia for her speech—and deter future speech—based on the content of that speech.




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       86.    Had the City and the Individual Defendants not harbored retaliatory

animus toward Sylvia’s speech, they would have never acted on any one of the three

options in their plan.

       Option 1: Charge Sylvia with a crime and arrest her.

       87.    As described in councilmember McCormick’s article, the surest way to

remove a council member is by obtaining a criminal conviction against her.

       88.    To punish Sylvia for championing the petition and to deter her from the

future exercise of her First Amendment rights, the City and the Individual

Defendants developed and executed a plan to manufacture criminal charges against

Sylvia and have her thrown in jail.

       89.    On May 24, 2019—two days after defendant mayor Trevino, with

Captain Zuniga by his side, confronted Sylvia about purportedly stealing the petition

that she supported—defendant police chief Siemens told another police officer—

Sergeant Paul Turner—that defendant Trevino would be contacting the officer “in

reference to the filing of a criminal complaint” against Sylvia, which defendant

Trevino subsequently did. Exhibit B, at 4.

       90.    After the complaint was filed, Sergeant Turner began his investigation

by going to the homes of people who signed the petition and questioning them about

this act of civil expression.

       91.    Many of these individuals whom Sergeant Turner approached said they

felt threatened by his actions and questions, as it was difficult to understand why a




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police officer would be knocking on their doors and challenging their signatures on a

nonbinding petition, with no force other than an expression of political thought.

      92.    On June 18, 2019—with Sergeant Turner’s investigation going

nowhere—the City and the Individual Defendants changed strategy. Defendant

Siemens turned to a trusted friend, defendant special detective Alex Wright, to take

over Sergeant Turner’s investigation.

      93.    Defendant Wright is a private attorney, not a professional police officer,

although he is a commissioned police officer in Texas and the Castle Hills Police

Department has paid to carry defendant Wright’s commission for years.

      94.    While it is often true that in sensitive political cases local district

attorneys employ private lawyers to act as special prosecutors, these lawyers are not

deputized as police officers, cannot be affiants for warrants, and cannot walk

warrants (bypassing local district attorneys in doing so).

      95.    Defendant Wright—with the authorization provided to him by

defendant Siemens—did all three. And defendant Wright did not act as a special

prosecutor, he was tasked with investigating Sylvia as a detective.

      96.    As part of his month-long investigation into Sylvia, defendant Wright

interviewed defendant Trevino, Captain Zuniga, and city manager Rapelye.

      97.    Following his investigation, the only charge defendant Wright could

come up with was a Class A misdemeanor for tampering with a government record,

for supposedly attempting to steal a petition that Sylvia herself championed. Tex.

Penal Code § 37.10(a)(3), (c)(1).




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      98.    Defendants made the most of this charge, however, by doing three

distinct things to ensure that Sylvia would be jailed based on it, rather than simply

asked to appear before a judge.

      99.    First, Defendants chose to obtain a warrant, rather than a summons—

the procedure normally reserved for people suspected of nonviolent crime. Unlike

warrants, summonses do not require a trip to jail.

      100.   Second, Defendants didn’t just obtain a warrant through normal

channels, by going through the district attorney (the “DA”). Instead, they

circumvented the DA by using a procedure typically reserved for violent felonies or

emergency situations and walked the warrant directly to a magistrate. When the

DA’s office finally learned of the charges and reviewed them, it dismissed them.

      101.   Third, by using the procedure that circumvented the DA, Defendants

also ensured that Sylvia would not be able to avoid jail by taking advantage of the

satellite booking function, provided by the Bexar County jail system to weed out

nonviolent offenses. This function allows individuals with outstanding warrants to be

booked, processed, and released without being jailed. Because Sylvia’s warrant was

not acquired through the traditional channels, it was not discoverable through the

satellite office’s computer system, leaving Sylvia no option other than jail.

      102.   It was bad enough that Sylvia was jailed for a nonviolent offense. Even

worse, the charge itself was a sham, since the statute it utilized was never before

used to charge people on facts even remotely similar to Sylvia’s.




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      103.   According to defendant Wright’s affidavit, Sylvia violated the

misdemeanor statute because she tried to steal the petition she herself championed.

As evidence of the attempt, the affidavit, provided by Defendant Wright to a

magistrate, used the brief, inconclusive statements made by Chalene Martinez

during the meeting on May 21, as well as the allegations made by defendant Trevino

in his complaint. The affidavit also accused Sylvia of being openly antagonistic

toward city manager Rapelye. The affidavit did not dispute that Sylvia was

expressing political speech. The issue was that this speech was intended to oust

defendant Rapelye from his job. Indeed, the affidavit shows that Sylvia’s speech was

the motivation behind defendant Wright’s investigation:

         a. “From her very first [council] meeting in May of 2019, [Sylvia] (along

             with another alderwoman) has been openly antagonistic to the city

             manager, Ryan Rapelye, wanting desperately to get him fired.”

         b. “Part of her plan to oust Mr. Rapelye involved collecting signatures on

             several petitions to that effect.”

         c. “Gonzalez had personally gone to [a resident’s] house on May 13, 2019,

             to get her signature on one of the petitions under false pretenses, by

             misleading her, and by telling her several fabrications regarding Ryan

             Rapelye . . . .”

Exhibit D, Defendant Wright’s Complaint/Affidavit for Warrant of Arrest, at 2, 5

(citing defendant Wright’s interviews with defendant Trevino and Ms. Martinez).




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      104.   Importantly, there was no need to examine Sylvia’s speech in order to

determine whether there was probable cause to arrest her for theft.


      105.   Furthermore, a review of misdemeanor and felony data from Bexar

County over the past decade makes it clear that the misdemeanor tampering statute

has never been used in Bexar County to criminally charge someone for trying to steal

a nonbinding or expressive document.

      106.   Of 215 grand jury felony indictments obtained under the tampering

statute at issue in this case, not one had an allegation even closely resembling the

one mounted against Sylvia. By far the largest chunk of the indictments involved

accusations of either using or making fake government identification documents:

altered driver’s licenses, another person’s ID, temporary identification cards, public

safety permits, green cards, or social security numbers. A few others concerned the

misuse of financial information, like writing of fake checks or stealing banking

information. The rest are outliers, but all very different from Sylvia’s situation. They

concern hiding evidence of murder, cheating on a government-issued exam, and using

a fake certificate of title, among others.

      107.   Misdemeanor data is even more unremarkable. In each case available

for review, the alleged tampering involved the use of fake social security numbers,

driver’s licenses, and green cards.

      108.   The data, as well as the availability of procedures designed to allow

people suspected of nonviolent offenses avoid going to jail, are clear: Defendants only

had Sylvia arrested because they were harboring retaliatory animus toward her and



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wanted to punish her for speaking out against city manager Rapelye and the

entrenched interests of the City and the Individual Defendants he represented.

      109.   Had the City and the Individual Defendants lacked retaliatory animus,

the Defendants would not have devised, adopted, or implemented their plan, which

resulted in Sylvia’s arrest.

      110.   Sylvia learned about a warrant for her arrest when she was in a doctor’s

office, waiting for her appointment.

      111.   As the receptionist called her name, a neighbor called Sylvia on her

cellphone and told her that she should turn herself in.

      112.   Explaining to the receptionist that she had an emergency and had to

leave, Sylvia went downstairs and waited for her husband to pick her up.

      113.   The two septuagenarians then drove to the county jail.

      114.   The 72-year-old councilwoman was booked on July 18, 2019, spending a

terrifying day in jail, sitting, handcuffed, on a cold metal bench, wearing an orange

jail shirt, and avoiding using the restroom, which had no doors and no toilet-paper

holders. The entire time there, she was not allowed to stand up and stretch her legs.

      115.   For someone who doesn’t even have a speeding ticket on her record, this

was quite an experience.

      116.   Sylvia’s name and mugshot were splashed across local media for days,

and they are still on the internet.




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      Option 2: Remove Sylvia from office for a made-up technicality.

      117.   While defendant Wright was buying time during his month-long

investigation of Sylvia, the City and the Individual Defendants were considering

alternative options to retaliate against Sylvia for her political speech. After all, their

ultimate retaliatory goal was to intimidate, punish, and silence Sylvia by removing

her from office. One way of achieving it was by arresting her and throwing her in jail.

Another was by trying to remove Sylvia directly.

      118.   On July 9, 2019, right before Sylvia approached her seat at the council

table, city attorney Schnall pulled Sylvia into a room with one of his law partners, as

well as defendant mayor Trevino and a non-resident friend of the mayor, where

Schnall told Sylvia that she was not qualified to be a member of city council because

she had been sworn in by a sheriff. To support his statement, Schnall invoked the

Texas Government Code, according to which “[a]n oath . . . may be administered” by

a sheriff, provided it is done when the sheriff “is engaged in the performance of the

[sheriff’s] duties” and “the administration of the oath relates to the [sheriff’s] duties.”

Tex. Gov’t Code § 602.002(17). Schnall argued that when sheriff Salazar swore in

Sylvia, he was doing neither.

      119.   Remarkably, Schnall—the city attorney, present at council meetings to

ensure that necessary legal requirements are followed—had attended Sylvia’s

swearing-in by sheriff Salazar and raised no concerns at the time. Instead, he

watched approvingly from mere feet away as Sylvia took her oath of office, applauding

when she concluded.




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      120.   But now, motivated by retaliatory animus toward Sylvia, city attorney

Schnall with the support of defendant Trevino declared that Sylvia had been

improperly sworn in and was not qualified to remain in her seat on the council.

Further, because more than 30 days had elapsed since Sylvia’s election, Schnall

stated that Sylvia could not be resworn. Instead, she had to be replaced by the

Defendant’s ally Amy McLin, whom Sylvia had beaten in the election.

      121.   Sylvia’s de facto removal by Schnall and defendant Trevino was not

ratified by a vote of the city council as would have been required under Texas law.

Instead, when the issue was raised at a council meeting, Schnall said it was not

properly before the council and could not be taken up.

      122.   Evidencing the retaliatory purpose of Sylvia’s removal, Defendants had

not attempted to take similar actions against council members who had been sworn

in by sheriffs in the past, including two who were sworn in by a sheriff in 2014 and

served out their terms without incident.

      123.   More to the point, Defendants also did not question the legitimacy of

defendant mayor Trevino’s seat, even though he was sworn in by the Bexar County

Precinct 3 commissioner Kevin A. Wolff. Just like with the sheriffs, the Texas

Government Code qualifies the purpose for which commissioners can administer

oaths of office, limiting it to “a matter pertaining to a duty of the . . . commission.”

Tex. Gov’t Code § 602.002(6). If it is questionable whether a sheriff’s administration

of the oath relates to the sheriff’s duties and falls within their scope, it is also

questionable whether a commissioner’s administration of the oath is a matter




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pertaining to a duty of the commission. Yet, city attorney Schnall did not question

the mayor’s legitimacy, even though he and Sylvia were sworn in on the same day.

      124.   Determined to address the concern and move on, Sylvia got resworn by

a notary at a bank. She and her friend then went to the city manager’s office to turn

in the certificate, proving that she did so. As she was walking out the door, Sylvia

overheard city manager Rapelye complain to someone: “You know what she did? She

campaigned against me!”

      125.   Sylvia also contested Defendants’ decision to order her removal by

securing a special council meeting to take up the issue on July 17, 2019. That’s when

the City and the Individual Defendants knew that the simple route of direct removal

was not going to be so simple.

      126.   So, on this same day, July 17, 2019, defendant Wright circumvented the

Bexar County DA and walked the warrant for Sylvia’s arrest to a judge. The following

day Sylvia was arrested.

      127.   After she was released from jail on bond, Sylvia sought a temporary

restraining order against Castle Hills and Schnall enjoining her removal. A court

granted the order the day after her filing, on July 23, 2019.

      Option 3: File a civil lawsuit against Sylvia to keep her off city council.

      128.   After a judge temporarily enjoined Defendants’ attempt to unilaterally

remove Sylvia from council on July 23, 2019, six Castle Hills residents, including

Mike Flinn, Robbie Casey, and Bonnie Hopke—the three residents who, along with

Chalene Martinez, testified against Sylvia’s petition—filed a lawsuit in the name of

the State of Texas to remove Sylvia for incompetence and official misconduct.


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      129.   Ironically, and further evidencing the existence of a high-level plan,

criminal charges filed against Sylvia in retaliation for her political speech were cited

as the main reason warranting Sylvia’s removal.

      130.   As with the Defendants’ use of the criminal process, the residents’ use

of the civil process circumvented the district attorney’s office.

      131.   And as with the Defendants’ use of the criminal process, when the

district attorney learned of the residents’ use of the civil process, he filed a motion to

dismiss the action, stating that “removal may only proceed with the intervention of

the District Attorney to represent the interest of the state” and that “the Bexar

County Criminal District Attorney declines to further prosecute this removal.”

      132.   When the six residents filed their objections to the motion of nonsuit,

the district attorney further elaborated that “after a careful and independent

investigation [it determined that] neither the criminal charges against Defendants

not this Chapter 21 removal action should proceed.”

      133.   After a district court judge dismissed the case and denied the motion for

new trial, the six residents appealed this determination. As of the date of this

complaint, their appeal is still pending.

      134.   When Sylvia’s attorneys—and later a trusted friend—reached out to

Mike Flinn’s counsel on her behalf, asking for Sylvia to be released from the lawsuit—

since she was no longer on the city council and had already spent around $70,000 in

attorney’s fees—the counsel refused. During one of these conversations, Flinn’s




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counsel conditioned the release from the lawsuit on Sylvia signing an affidavit stating

that she would never again run for the city council.


       135.   Despite being initially unsuccessful in (1) obtaining a criminal

indictment against Sylvia, (2) removing her from office based on the claim of being

improperly sworn in, and (3) having a civil lawsuit filed to remove Sylvia, Defendants

succeeded in their ultimate goal of intimidating and punishing Sylvia in retaliation

for her political speech. Sylvia is no longer on the city council—since she could not

afford never-ending attorney’s fees caused by her arrest and by Schnall’s and citizens’

attempts to remove her— and will never again help organize a petition or participate

in any other public expression of her political speech. She will also never again run

for any political office.

                                  Injury to Plaintiff

Defendants Have Severely Harmed Sylvia.

       136.   The retaliatory arrest manufactured by the City and the Individual

Defendants directly and proximately caused severe harms to Sylvia, including but

not limited to:

              a. The harm to Sylvia’s reputation. Sylvia’s mugshot was displayed

                  repeatedly in the media, both in her community and beyond. She

                  was the subject of repeated news articles about her wrongful arrest.

                  To this day, harmful and embarrassing news articles with Sylvia’s

                  mugshot appear when one searches for her on the internet. This

                  harm continues to this day and is likely to continue in the future.



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    b. The harm to her future opportunities. Sylvia’s arrest is a matter of

       public record. If she were to ever apply for a job (which is increasingly

       likely even for senior citizens, in times of economic uncertainly) or

       for public benefits, her chances of succeeding would be significantly

       diminished due to her criminal record. See Elisha Jain, Arrests as

       Regulation, 67 Stan. L. Rev. 809, 810 (2015); see also Gary Fields &

       John R. Emshwiller, Opinion, As Arrest Records Rise, Americans

       Find Consequences Can Last a Lifetime, Wall St. J. (Aug. 18, 2014),

       https://www.wsj.com/articles/as-arrest-records-rise-americans-find-

       consequences-can-last-a-lifetime-1408415402?st=cj2xuywlkthsmji.

    c. The harm to her pocketbook. Sylvia had to pay a fee to be released

       from jail, a bondsman to secure her bond, and tens of thousands of

       dollars to lawyers to defend against the criminal charges.

    d. The harm to her faith in the criminal justice system. Defendants’

       actions caused Sylvia to lose faith in the criminal justice system and

       law enforcement in Castle Hills, a place where she lives and where

       her family has worked in law enforcement.

    e. The harm to her physical health. Stress brought on by the worry

       about her criminal prosecution led to many sleepless nights as well

       as anxiety-filled days, resulting in the overall deterioration of

       Sylvia’s physical health.




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                                    Causes of Action

                                  Count I
            42 U.S.C. § 1983—First and Fourteenth Amendments
     (Retaliatory Arrest Claim Against Individual Defendants Trevino,
                            Siemens, and Wright)

      137.      Sylvia realleges and incorporates by reference the allegations in

Paragraphs 1 through 136 of this complaint, as if fully stated herein.


      138.      Sylvia’s actions in championing the creation, signature, and submission

of a nonbinding citizens’ petition and urging the removal of city manager Rapelye

from his job are safeguarded by the First Amendment to the United States

Constitution.

      139.      Using their respective authorities under color of state law, the

Individual Defendants subjected Sylvia to the deprivation of her rights under the

First Amendment by retaliating against her for exercising those rights.

      140.      Motivated to punish and intimidate Sylvia for her exercise of free

speech, the Individual Defendants engaged in various harmful acts against Sylvia in

violation of clearly established First Amendment law, resulting in her arrest. These

acts include:

                a. Defendant Trevino lodging a baseless theft complaint against Sylvia

                   and participating in and encouraging a criminal investigation and

                   the institution of criminal charges against Sylvia for her involvement

                   with the petition.




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             b. Defendant Siemens instigating and overseeing a full criminal

                investigation and institution of criminal charges against Sylvia for

                an ostensible crime related to defendant Trevino’s theft complaint.

             c. Defendants Siemens and Trevino bringing in defendant Wright and

                tasking him with investigating Sylvia and manufacturing criminal

                charges against her.

             d. Defendant Wright conducting a full criminal investigation of Sylvia

                under a “Tampering with Governmental Record” statute that is

                never used against individuals similarly situated to Sylvia; swearing

                out a misleading criminal complaint against Sylvia; and proceeding

                with a criminal arrest process meant to intentionally exclude the

                district attorney’s involvement and foreclose any avenue for Sylvia

                to appear before a court—either by way of a summons or through the

                satellite office—rather than be jailed.

      141.   The foregoing are actions independently unconstitutional but also were

intended to send a warning to anyone else in Castle Hills bold enough to challenge

the Individual Defendants’ grip on power by exercising their First Amendment rights.

      142.   It is clearly established that retaliating against individuals by arresting

them under a law that is generally not used to arrest similarly-situated individuals

is a violation of the First Amendment. Every reasonable government official would

have had a fair warning that doing so and participating in a scheme to do so is

unconstitutional.




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      143.      It is furthermore clearly established that retaliating against individuals

by engaging in the various harmful acts described in Paragraph 140 is a violation of

the First Amendment. Every reasonable government official would have had a fair

warning that doing so and participating in a scheme to do so is unconstitutional.

      144.      The facts also demonstrate that the criminal charge the Individual

Defendants assigned to Sylvia was a sham charge, regardless of attempts to fabricate

probable cause or convince a judge to sign an arrest warrant. Thus, even if probable

cause existed, the application of an unenforced law to Sylvia is insufficient to

outweigh the retaliatory animus illustrated by the surrounding circumstances. The

facts, including the exclusion of the district attorney and his later dismissal of

defendant Wright’s charges against Sylvia, cannot objectively justify Sylvia’s arrest.

      145.      No other similarly situated individuals have ever been charged or

arrested as Sylvia was.

      146.      Moreover, the Individual Defendants were not acting under time

constraint and made no split-second decisions regarding Sylvia’s arrest.

      147.      Furthermore, Sylvia’s protected speech is not a legitimate consideration

in determining whether to make an arrest based on the claim that she tried to steal

the petition.

      148.      The Individual Defendants’ unconstitutional acts, motivated by

retaliatory animus, directly harmed Sylvia by chilling her ability to exercise her First

Amendment rights and by causing her pecuniary loss and the deterioration of her

health.




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      149.    Had it not been for the retaliatory animus, the Individual Defendants

would have never arrested Sylvia for her actions related to supporting a nonbinding

citizens’ petition that did nothing other than express public discontent with the city

government.

                                    Count II
            42 U.S.C. § 1983 – First and Fourteenth Amendments
          (Retaliatory Arrest Claim against the City of Castle Hills)

      150.    Sylvia realleges and incorporates by reference the allegations in

Paragraphs 1 through 136 of this complaint, as if fully stated herein.

      151.    Through the Individual Defendants, as well as through city manager

Rapelye, city attorney Schnall, and councilmember McCormick, Castle Hills adopted

and enforced an official policy or custom to retaliate against Sylvia for her First

Amendment activities, namely the expression of her political thought through a

nonbinding citizens’ petition urging the firing of city manager Rapelye.

      152.    As noted in Count I and elsewhere in the complaint, the City retaliated

against Sylvia in violation of the First Amendment by concocting a scheme to arrest

Sylvia on manufactured misdemeanor charges.

      153.    This scheme was a part of an official policy or custom that was

deliberate, long-term, and pervasive, unlike on-the-spot decisions to arrest,

sometimes made by individual officers in split-second situations.

      154.    The decision to arrest Sylvia can also be easily disentangled from her

speech: unlike in some situations when an officer has to take speech into account

when determining whether an arrest is warranted (for example content of speech




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could indicate whether a suspect is ready to cooperate or presents a continuing

threat), here, there was no need to consider the substance of the petition to determine

whether the tampering statute was violated. Afterall, the basis for Sylvia’s arrest was

the allegation that she tried to steal her petition. The substance of the petition has

nothing to do with evaluating whether the theft took place.

      155.   The actions of the Individual Defendants, as well as city manager

Rapelye, attorney Schnall, and councilmember McCormick are attributable to the

City. As final policy-makers with final authority, or who were delegated final

authority, these individuals made a deliberate choice to adopt a course of action that

retaliated against Sylvia and resulted in her arrest. They also ratified these

retaliatory acts.

      156.   As city manager—imbued with the authority to appoint and supervise

all city employees and departments—Rapelye is a municipal policymaker, and his

decisions and actions described in this complaint represent official Castle Hills policy.

      157.   As mayor—president of the city council—defendant Trevino is a

municipal policymaker, and his decisions and actions described in this complaint

represent official Castle Hills policy.

      158.   As a council member, McCormick was a municipal policymaker, and his

decisions and actions described in this complaint represent official Castle Hills policy.

      159.   As police chief—executive head of the police department—defendant

Siemens is a municipal policymaker, and his decisions and actions described in this

complaint represent official Castle Hills policy. Alternatively, as policymakers




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supervising and directing defendant Siemens, city manager Rapelye, councilmember

McCormick, and defendant Trevino ratified defendant Siemens’s actions as municipal

policy.

          160.   As special detective—charged directly by defendant Siemens and

defendant Trevino with assigning criminal charge to Sylvia—defendant Wright’s

decisions and actions described in this complaint represent official Castle Hills policy.

Alternatively, as policymakers supervising and directing defendant Wright,

defendant Siemens, defendant Trevino, city manager Rapelye, and councilmember

McCormick ratified defendant Wright’s actions as municipal policy.

          161.   As city attorney, who serves as a legal adviser to the council, the city

manager, and all other departments of the City, Marc Schnall acted in a way that

represented official Castle Hills policy. Alternatively, as policymakers supervising

and directing Schnall, defendants Siemens and Trevino, city manager Rapelye, and

councilmember McCormick ratified Schnall’s actions as municipal policy.


          162.   The actions undertaken or ratified by the City constitute the moving

force behind the retaliatory arrest aimed at Sylvia’s exercise of her First Amendment

rights, which caused harm to Sylvia, including, but not limited to damage to her

reputation, her health, her financial circumstances, and other adverse effects.

          163.   Had it not been for the retaliatory animus, the City would have never

caused, permitted, or approved Sylvia’s arrest for championing a nonbinding citizens’

petition that did nothing other than express public discontent with the city

government.



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      164.   Alternatively, in recent years, there has been a persistent and

widespread practice by Castle Hills of retaliating against city residents who voice

criticism of the City or its officials or who petition the City for redress of grievances.

      165.   In addition to what happened to Sylvia, Castle Hills has a history of

cracking down on disfavored speech.

      166.   For example, in 2017 or 2018, a local resident organized a petition to

advocate for the closing of an impound lot in his neighborhood. To intimidate the

resident and discourage him from submitting the petition, defendant Trevino—then

a council member—along with the former police chief, the former mayor, and the

former city manager showed up at the resident’s home and threatened him.

      167.   Similarly, in 2018, when another city resident put up opposition

campaign signs on private front yards with owner permission, defendant Trevino’s

predecessor called and threatened him with an easement violation. “If this is the way

y’all want to play the game,” said the mayor in a voicemail message, “then I can order

the police to just go ahead and write citations to everybody that has them in the

easement and kinda, maybe report it that you were the one that started this.”

      168.   In 2016 and 2018, mayor Trevino, police chief Siemens, special detective

Wright, and councilmember McCormick were in positions of power in Castle Hills. As

such, they—as current policymakers—had actual or constructive knowledge of this

unconstitutional policy or custom of retaliating against city residents who criticize

Castle Hills or its officials or who petition the City for redress of grievances.




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      169.   But for the City’s policy or custom of retaliation in response to criticism

of those in power, Sylvia would not have been arrested, had her reputation dragged

through the mud, subjected to abuse of process, and suffered various other harms

that further serve to chill her First Amendment activities.

                                 Prayer for Relief

      WHEREFORE, Sylvia Gonzalez seeks a judgment (1) declaring that the City

and the Individual Defendants violated her rights under the First and Fourteenth

Amendments to the United States Constitution, and (2) awarding her compensatory

and punitive money damages against the City of Castle Hills, Texas; Edward “JR”

Trevino, II; John Siemens; and Alexander Wright. Sylvia also seeks her attorney’s

fees and costs under 42 U.S.C. § 1988 as well as all other and further relief as the

Court may deem just and proper.

                                   Jury Demand

      Sylvia Gonzalez demands a trial by jury on all issues triable under Rule 38 of

the Federal Rules of Civil Procedure.

Dated: September 29, 2020               Respectfully submitted,

                                        /s/ Anya Bidwell
                                        Anya Bidwell (TX Bar No. 24101516)
                                        Will Aronin*
                                        Patrick Jaicomo*
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                          CERTIFICATE OF SERVICE

      I hereby certify that, on this 29th day of September, 2020, I electronically filed

the Complaint with the Clerk of Court using the CM/ECF system.

      I further certify that I caused a copy of the foregoing Complaint to be served

via process server upon the following:

       City of Castle Hills                     John Siemens
       209 Lemonwood Drive                      209 Lemonwood Drive
       Castle Hills, TX 78213                   Castle Hills, TX 78213

       Edward “JR” Trevino, II                  Alexander Wright
       209 Lemonwood Drive                      5707 W I-10
       Castle Hills, TX 78213                   San Antonio, TX 78201


                                         /s/ Anya Bidwell




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